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                  EXHIBIT 26
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  From:             Christopher Greene
  To:               "James Kolenich"
  Cc:               Roberta Kaplan; Gabrielle Tenzer; Karen Dunn; Philip Bowman; Levine, Alan; "Mills, David"
  Subject:          RE: Kessler device imaging
  Date:             Thursday, July 19, 2018 5:02:40 PM
  Attachments:      Search Terms for Kessler Devices.docx


  Jim,

  Without waiver of our right to have Defendants abide by the terms of the proposed imaging
  stipulation circulated to Defendants on June 13 (including to bear the cost of preserving and
  producing information responsive to Plaintiffs’ discovery requests), attached are search terms
  Plaintiffs request that you run on the data collected from Mr. Kessler’s cell phone. The attached
  redline slightly modifies and supplements the terms provided by the City of Charlottesville.

  Finally, we note that any instructions to delete the data collected from Mr. Kessler, if that data is not
  otherwise preserved, would be a violation of Mr. Kessler’s obligation to preserve information
  relevant to this litigation.

  Regards,

  Christopher B. Greene
  Kaplan Hecker & Fink LLP
  (929) 294-2528


  From: James Kolenich [mailto:jek318@gmail.com]
  Sent: Monday, July 16, 2018 11:17 PM
  To: Christopher Greene <cgreene@kaplanhecker.com>
  Subject: Re: Kessler device imaging

  Chris,

    I'm out of the office the next three days. I didn't pull the proposed agreement but the
  imaging is comprehensive through a vendor selected by the City of Charlottesville. I believe
  they are using cellubrite and then relativity for doc review. Kessler is unable to further
  participate in paying for e-discovery. Literally, it would be cheaper to just buy my own
  cellubrite equipment than pay them for 1 TB plus. It's possible we are looking at more than
  1 TB of info though it's largely redundant. Nevertheless, I have the imaging of his phone
  (unredacted) now. Redaction is in process. Attached is a copy of the search terms
  proposed by the City. I included "Enoch" because they listed "Peinovich" which yielded 1
  result but failed to include "Enoch" which yielded 75 results.

  If you want to add to that list I will submit any reasonable terms suggested by you as my
  own which should not cause any increase in Kessler's current bill. Anytime in the next day
  or two should be good. I will provide you with results of his phone imaging when redaction
  is complete.
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  Beyond that, if we (or the City) can't come to a financial agreement, I will instruct the
  company to delete the data. We are not paying to store it while lawyers haggle and I am not
  turning over un -vetted data, just as you would not.

  I'm sure they would send me unsearched data but at those amounts my tiny legal group
  could probably finish vetting it around 2020 or so. In the alternative we could both try to
  ride the City's coattails. Kessler is actually protected by the Civil Rules from having to pay
  for this (unreasonable burden), contrary to your legal assertion.


  Best,

  Jim



  On Mon, Jul 16, 2018 at 7:40 PM, Christopher Greene <cgreene@kaplanhecker.com> wrote:

    Jim,

    Would you be able to provide more information concerning the imaging that Mr. Kessler’s devices
    are undergoing and whether it comports with the imaging stipulation we circulated among the
    parties on June 13?

    As for the expenses associated with producing responsive documents, until the Court orders
    otherwise, the “presumption is that the producing party should bear the cost of responding to
    properly initiated discovery requests,” Adkins v. EQT Production Co., No. 1:10CV00041, 2012 WL
    5465491, at *4 (W.D. Va. May 31, 2012), objections overruled sub nom. Adair v. EQT Prod. Co., No.
    1:10CV00037, 2012 WL 2526982 (W.D. Va. June 29, 2012). Indeed, as you know, Plaintiffs are
    bearing their own costs of responding to discovery in this case. Plaintiffs will, however, propose a
    set of search terms with the understanding that the costs of any production from Mr. Kessler
    based on those terms would be borne by Mr. Kessler.

    Regards,

    Christopher B. Greene
    Kaplan Hecker & Fink LLP
    (929) 294-2528

    From: James Kolenich [mailto:jek318@gmail.com]
    Sent: Tuesday, July 10, 2018 1:29 PM
    To: Christopher Greene <cgreene@kaplanhecker.com>
    Subject: Kessler device imaging

    Chris:

        It looks like Kessler will be having his devices imaged tomorrow. Want to submit some
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    search terms? Also, there is a holdup regarding who pays for producing responsive docs
    after the keyword search. Is there any willingness on your end to participate in that cost?

    Jim

    --
    James E. Kolenich
    Kolenich Law Office
    9435 Waterstone Blvd. #140
    Cincinnati, OH 45249
    513-444-2150
    513-297-6065(fax)
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  --
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